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Accordingly, the Parties respectfully request that this Court grant this joint request for a stay.
The Parties propose that they will submit a joint status report within 60 days after entry of the
stay.



Respectfully submitted,


 /s/ Adam B. Gottlieb                         /s/ Jennifer Bretan
 Adam B. Gottlieb                             Jennifer Bretan

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